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                             UNITED STA TES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT

NICOLE CHASE                              : NO.: 3:18-cv-00683 (VLB)

v.
NODINE'S SMOKEHOUSE, INC.,
CALVIN NODINE,
TOWN OF CANTON,
JOHN COLANGELO,
ADAM GOMPPER,                               October   '3 f, 2019
MARKJ.PENNEY,AND
CHRISTOPHER ARCIERO'



                    AFFIDAVIT OF ATTORNEY JOHN RITSON, ESQ.


JOHN RITSON, being duly sworn, deposes and states the following:


     1. I am over eighteen years of age and understand the meaning of an oath.

     2.    I am an attorney duly admitted to the practice of law in Connecticut. I

          have been handling criminal cases in the Hartford area for over 33 years.

     3. I represented Nicole Chase in the matter of State v. Chase, cr-17-69273s,

          pending in the Hartford Superior court, GA #14. The charge was Conn.

          Gen. Stat. §53a-157b(a), False Statement.

     4.    On October 8, 2017, I appeared in court on behalf of Nicole Chase. I spoke

          with Assistant State's Attorney Jesse Giddings. I told Assistant State's

          Attorney Giddings that Ms. Chase's arrest was outrageous. She was the

          victim of a sexual assault and that Calvin Nodine, her assailant, was the

          individual who should have been arrested and prosecuted.




                                                                    EXHIBIT 10
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5. Assistant State's Attorney Giddings stated that the case would be

     continued, and if nothing else happened, the state would enter a nolle

     prosequi. I did not object to the continuance.

6. There was no negotiations or conditions imposed. The conti nuance was

     unilateral by the state. There was no agreement between Chase and the

     State.

7. On November 8, 2017, the State's Attorney's Office entered a nolle

     prosequi.

8. The State's Attorney's Office's decision to enter a nolle prosequi was

     unilateral. There were no conditions imposed, or any agreement relating

     the disposition of the case.

9. This statement is true to the best of my knowledge and belief.




                                      (~/

                                      /
                                              J,   Ri
                                                                               '
     Subscribed and sworn to me before on the ~day of October, 2019.




ELIZABETH DEL GUIDICE
    NOTARY PUBLIC
     HARTFORD COUNTY
MY COMMISSION EXPIRES JUNE 30, 2024




                                          /



                                                                 EXHIBIT 10
